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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF OHIO
                        WESTERN DIVISION – CINCINNATI

Bruce Erikson,                                   :      Case No. 1:23-cv-66
                                                 :
                     Plaintiff,                  :      Judge Matthew W. McFarland
                                                 :
               v.                                :
                                                 :
Xavier University, et al.,                       :
                                                 :
                     Defendants.                 :

______________________________________________________________________________

                             CALENDAR ORDER
______________________________________________________________________________


        This matter is before the Court following an initial conference by phone on June

24, 2024. Pursuant to the filing of the Rule 26(f) Report by the parties on June 14, 2024

(Doc. 23), this case shall proceed as follows:

1.      Deadline to exchange initial disclosures: July 30, 2024

2.      Deadline for motion to amend pleadings/add parties: August 9, 2024

3.      Deadline for motions related to pleadings: August 9, 2024

4.      Deadline to submit protective order: August 30, 2024

5.      Disclosure of non-expert (fact) witnesses: August 30, 2024

6.      Deadlines for disclosure of expert witnesses and submission of expert reports:
          Plaintiff’s expert report(s): November 1, 2024
          Defendant’s expert report(s): December 20, 2024
          Disclosure and report of rebuttal experts: January 21, 2025

7.      Discovery deadline: February 28, 2025
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8.      Dispositive motions deadline: April 11, 2025


        IT IS SO ORDERED.


                                                 UNITED STATES DISTRICT COURT
                                                 SOUTHERN DISTRICT OF OHIO


                                           By:     /s/ Matthew W. McFarland b
                                                 JUDGE MATTHEW W. McFARLAND
